Complaints and Other Initiating Documents
1:15­cv­20278­XXXX Wiederspan et al v. Republic of Cuba, The et al

                                           U.S. District Court

                                      Southern District of Florida

Notice of Electronic Filing

The following transaction was entered by Sanchez­Calderon, William on 1/26/2015 at 4:15 PM EST and
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Case Name:           Wiederspan et al v. Republic of Cuba, The et al
Case Number:         1:15­cv­20278­XXXX
Filer:               Marilyn Wiederspan
                     Maria Bravo Diaz
                     Martha Velasquez Sanchez
                     Jose Velasquez Fernandez
Document Number: 1

Docket Text:
COMPLAINT against Fidel Castro Ruz, Raul Castro Ruz, Republic of Cuba, The. Filing fees
$ 400.00 receipt number 113C­7417310, filed by Marilyn Wiederspan, Maria Bravo Diaz,
Martha Velasquez Sanchez, Jose Velasquez Fernandez. (Attachments: # (1) Civil Cover
Sheet, # (2) Exhibit Composite Exhibit A)(Sanchez­Calderon, William)


1:15­cv­20278­XXXX Notice has been electronically mailed to:

William J. Sanchez­Calderon     michael@wsanchezlaw.com

1:15­cv­20278­XXXX Notice has not been delivered electronically to those listed below and will be
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The following document(s) are associated with this transaction:

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[STAMP dcecfStamp_ID=1105629215 [Date=1/26/2015] [FileNumber=13433876­
0] [718dc1352c8dadc4e5d3a117b62c9238fda3b42adce49e31a660f45f391599c044
3b36ef139cb396cd706b7da34e5e0a9b06b5f4ea4314b8cf6ec51f1654f633]]
Document description:Civil Cover Sheet
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1105629215 [Date=1/26/2015] [FileNumber=13433876­
1] [6cde08e4bf050ee77cac5e0ea1adfb81ef438570a672a773a71fe0967c262e31e2
00f62d96c075c20f7ac4f06dbc40ed559f19b05a5987ca870c124a9d6c2478]]
Document description:Exhibit Composite Exhibit A
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1105629215 [Date=1/26/2015] [FileNumber=13433876­
2] [85b3f14478ee9d0e0224d6b8c9cbafc6cb05e4769ccb353d60b8ccae6eb490475a
4d5ff2a331959815aee32c9dd6186da5915a6cf1234cf1a86a3f93542de816]]
